                                                                                                                                        JS-3
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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.              CR 15-688(A)DSF

 Defendant          4) Eryanna Negrete                                        Social Security No. 6        2        0    7
 akas:                                                                        (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                        MONTH   DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.        10      15    2018

  COUNSEL                                                           Fredrico McCurry, Appointed
                                                                             (Name of Counsel)

     PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.            NOLO                NOT
                                                                                                                CONTENDERE            GUILTY
  FINDING           There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                   21 U.S.C. §846, 841 (a)(1): Conspiracy to Possess with Intent to Distribute and Distribute Methamphetamine - Count 5 of the
                   First Superseding Indictment; 21 U.S.C. §841(a)(1), Distribution of Methamphetamine - Count 10 of the First Superseding
                   Indictment; 21 U.S.C. §841(a)(1)/18 U.S.C. §2: Possession with Intent to Distribute and Distribution of Methamphetamine,
                   Aiding and Abetting - Count 24 of the First Superseding Indictment.

JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that defendant, Eryanne Negrete, is hereby
  ORDER            committed on Counts 5, 10, and 24 of the First Superseding Indictment to the custody of the Bureau of Prisons to be imprisoned
                   for a term of 87 months. This term consist of 87 months on each of Counts 5, 10, and 24 of the First Superseding Indictment,
                   to be served concurrently.

         On release from imprisonment, the defendant shall be placed on supervised release for a term of eight years. This term consists of
eight years on each of Counts 5, 10, and 24 of the First Superseding Indictment, all such terms to run concurrently under the following terms
and conditions:

         1.         The defendant shall comply with the rules and regulations of the United States Probation
                    Office and General Order 05-02, with the exception of Standard Conditions 5, 6, and
                    14;

         2.         As directed by the Probation Officer, the defendant shall notify specific persons and
                    organizations of specific risks and shall permit the Probation Officer to confirm the
                    defendant’s compliance with such requirement and to make such notifications;

         3.         The defendant shall refrain from any unlawful use of a controlled substance. The
                    defendant shall submit to one drug test within 15 days fo release from imprisonment and
                    at least two periodic drug tests thereafter, not to exceed eight tests per month, as directed
                    by the Probation Officer;

         4.         The defendant shall participate in an outpatient substance abuse treatment and counseling
                    program that includes urinalysis, breath or sweat patch testing, as directed by the Probation
                    Officer.

         5.         The defendant shall abstain from using illicit drugs and alcohol, and abusing prescription
                    medications during the period of supervision. As directed by the Probation Officer,
                    the defendant shall pay all or part of the costs of the Court-ordered treatment to the
                    aftercare contractor during the period of community supervision, pursuant to 18 U.S.C. § 3672.
                    The defendant shall provide payment and proof of payment as directed by the Probation Officer.

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                     If the defendant has no ability to pay, no payment shall be required;

         6.          During the period of community supervision the defendant shall pay the special
                     assessment in accordance with this judgment's orders pertaining to such payment;

         7.          When not employed or excused by the Probation Officer for schooling, training,
                     or other acceptable reasons, the defendant shall perform 20 hours of community
                     service per week as directed by the Probation Office;

         8.          The defendant shall not associate with anyone known to her to be a member of the
                     Wilmas Gang and others known to her to be participants in the Wilmas Gang’s
                     criminal activities, with the exception of her family members. She may not wear,
                     display, use or possess any gang insignias, emblems, badges, buttons, caps, hats,
                     jackets, shoes, or any other clothing that defendant knows evidence affiliation with
                     the Wilmas Gang, and may not display any signs or gestures that defendant knows
                     evidence affiliation with the Wilmas Gang;

         9.          As directed by the Probation Officer, the defendant shall not be present in any area
                     known to her to be a location where members of the Wilmas Gang meet or assemble.

         10.         The defendant shall cooperate in the collection of a DNA sample from the defendant;

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider to facilitate the
defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the treatment provider is
prohibited without the consent of the sentencing judge

It is ordered that the defendant shall pay to the United States a special assessment of $300, which is due immediately. Any unpaid balance shall
be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

All fines are waived as it is found that such sanction would place an undue burden on the defendant’s dependents.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all necessary treatment.

The Court recommends defendant be housed at Waseca FCI.

The Court recommends that defendant be designated to a BOP facility that offers the 500-hour Residential Drug Abuse Program (RDAP).

The Court advised the defendant of the right to appeal this judgment.

SENTENCING FACTORS: The sentence is based on the factors set forth in 18 U.S.C. §3553, including the applicable sentencing range
set forth in the guidelines, as more particularly reflected in the court reporter’s transcript.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.


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            October 15, 2018
            Date                                                            DALE S. FISCHER, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                            Clerk, U.S. District Court



            October 15, 2018                                         By     Renee Fisher
            Filed Date                                                      Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;         10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written             activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                       unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete                 time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                            contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                            or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                    of the court;
       excused by the probation officer for schooling, training, or other            14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior             record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                           probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not             defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other       15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,              to the probation officer within 72 hours;
       except as prescribed by a physician;                                          16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances                 or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                       1. Special assessments pursuant to 18 U.S.C. §3013;
                       2. Restitution, in this sequence:
                                 Private victims (individual and corporate),
                                 Providers of compensation to private victims,
                                 The United States as victim;
                       3. Fine;
                       4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                       5. Other penalties and costs.

                                 SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to

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      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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